                                  Annex A

                              Litigation Parties




                                      4
WEIL:\97407089\2\41703.0011
#    Litigation Party           Case Caption                   Court          Docket Number     Opposing Party         Nature of Monetary        Date Initial Date Second Status of
                                                                                                    Contact                   Claims             Letter Sent Letter Sent Discussions
1   Bistline, Kristine Kristine Ann Bistline v.         United States District 18-cv-08995    Andrew J. Kulick       Fraud; negligence;           10/28/2019     2/6/2020 Litigant's
                       Ditech Financial LLC f/k/a       Court - Central                       LAW OFFICES OF         wrongful foreclosure;                                counsel
                       Green Tree Servicing LLC,        District of California                ANDREW J.              and violations of                                    affirmatively
                       doing business in the state of                                         KULICK                 HOBR.                                                refused to
                       California, Federal Home                                               21704 West Golden                                                           withdraw the
                       Loan Mortgage Corporation                                              Triangle Road, Suite                                                        claims in a
                       and Does 1-30                                                          312                                                                         October 29,
                                                                                              Saugus, CA 91350                                                            2019 email
                                                                                                                                                                          and has not
                                                                                                                                                                          responded to
                                                                                                                                                                          the December
                                                                                                                                                                          23, 2019 and
                                                                                                                                                                          February 5,
                                                                                                                                                                          2020 follow-
                                                                                                                                                                          up letters.

2   Candia, Pedro       Ditech Financial LLC v. Pedro Second Judicial        D -202 -CV -     Joseph B. Cofey        Violation of the Truth in   12/17/2019     2/13/2020 Litigant's
                        Candia; Margaret Russel and District Court of        2017- 06176      Cofey Law Firm         Lending Act; violation                               counsel has
                        Ameircan Finance              New Mexico -                            2500 Garfield Ave      of the Real Estate                                   not
                                                      Bernanillo County                       SE                     Owners Protection Act;                               responded to
                                                                                              Albuguerque, NM        violation of the Real                                the initial
                                                                                              87106                  Estate Settlement                                    letter or
                                                                                                                     Procedures Act.                                      follow-up
                                                                                                                                                                          letters.
3   Cargille, David     David and Julie Cargille v.  United States District 15-CV-00938       David and Julie        Breach of contract;         11/21/2019      1/6/2020 Litigants
    and Julie           Ditech Financial LLC F/K/A Court - District of                        Cargille               breach of covenant of                                have not
                        Green Tree Servicing LLC, et New Jersey                               29 Millstone Drive     good faith and fair                                  responded to
                        al.                                                                   East Windsor, New      dealing;                                             initial letter
                                                                                              Jersey 08512           fraud/intentional                                    or follow-up
                                                                                                                     misrepresenation;                                    letter.
                                                                                                                     constructive
                                                                                                                     fraud/negligent
                                                                                                                     misrepresentation;
                                                                                                                     negligence; violation of
                                                                                                                     the New Jersey
                                                                                                                     Consumer Fraud Act;
                                                                                                                     and violation of the Fair
                                                                                                                     Debt Collection
                                                                                                                     Practices Act.
4   Cisneros, Blas    Blas A. Cisneros v. Ditech     California Superior BCV-19-102512 Blas A. Cisneros        Intentional                   11/1/2019    2/3/2020 Litigant has
                      Financial LLC; Countrywide     Court - Kern County               2342 San Lorenzo        misrepresentation; fraud                            not
                      Home Loans, Inc.; The                                            Court                   in the concealment;                                 responded to
                      Mortgage Law Firm, PLC;                                          Delano, CA 93215        predatory lending                                   initial letter
                      Mortgage Electronic                                                                      practices; violation of                             or follow-up
                      Registration Systems, Inc.;                                                              California civil code §                             letter.
                      Does 1-10.                                                                               2924.12 and §
                                                                                                               2924.17(a)(b); violation
                                                                                                               of California civil code
                                                                                                               § 3294 (C)(3); negligent
                                                                                                               misrepresentation;
                                                                                                               slander of title; violation
                                                                                                               of California Business
                                                                                                               and Professional Code §
                                                                                                               17200; and intentional
                                                                                                               infliction of emotional
                                                                                                               distress.



5   Coble, Albert and Albert Coble and Melissa        California Superior   CV18004356   Colleen F. Van        Breach of contract;           11/5/2019    2/5/2020 Litigant's
    Melissa Groom Groom v. Ditech Financial           Court - Stanislaus                 Egmond, Esq.          intentional infliction of                           counsel has
                      LLC; Bank of America, N.A.; County                                 Arata, Swingle, Van   emotional distress; and                             not
                      Special Default Services, Inc.;                                    Egmond &              violation of the                                    responded to
                      Value-Add Mortgage Fund,                                           Heitlinger, APLC      California Homeowner                                the initial
                      LLC, Home Expo Financial                                           1207 I Street         Bill of Rights.                                     letter or
                      Inc., and Does 1-20                                                (95354)                                                                   follow-up
                                                                                         P.O. Box 3287                                                             letters.
                                                                                         Modesto, CA 95353

6   Coffey, Alice     Ditech Financial LLC v. Alice New York Supreme 608231/2019         Quies Sakhizada,      Violation of New York         1/27/2020   2/14/2020 Litigant's
                      V. Coffey; People of the State Court - Suffolk                     Esq.                  General Business Law                                counsel has
                      of New York; Sandra L.         County                              200 Broadhollow       §349(a); violation of the                           not
                      Coffey                                                             Road, Suite 207       Truth in Lending Act;                               responded to
                                                                                         Melville, NY 11747    violation of the Real                               the initial
                                                                                                               Estate Settlement                                   letter or
                                                                                                               Procedures Act;                                     follow-up
                                                                                                               attorney's fees and costs                           letter.
7   Coll, Marie and   Marie Coll and Douglas Coll Rhode Island             NC11-0270      Brian R. Cunha        Erroneous credit             1/14/2020   1/31/2020 Litigant has
    Douglas           v. American Mortgage           Superior Court -                     311 Pina Street       reporting.                                         not dismissed
                      Network, Inc., Liberty         Newport SC                           Fall River, MA                                                           despite
                      Insurance Underwriters, Inc.,                                       02720                                                                    acknowledgin
                      Christina A. Azzinaro, Trucap                                                                                                                g reciept of
                      Grantor Trust 10-2, US Bank                                         Gordon P. Cleary,                                                        the initial
                      National Association, Trustee                                       Esq.                                                                     letter and has
                      for Trucap Grantor Trust 2010-                                      10 Dorrance Street,                                                      not
                      2, Marix Servicing, LLC,                                            Suite 700                                                                responded to
                      Wells Fargo Bank, NA and                                            Providence, RI                                                           the follow-up
                      Wells Fargo Home Mortgage                                           02903                                                                    letter.

8   Datta, Anosuya    Anosuya Datta, a person, as     California Superior LC102407        Steven C. Shuman,     Wrongful foreclosure;       10/31/2019    2/3/2020 Litigant's
                      Successor Trustee of the        Court – Los Angeles                 Esq.                  breach of quasi contract;                          counsel has
                      Sumit Ghosh Revocable           – Van Nuys                          ENGSTROM,             unfair/fraudulent                                  not
                      Living Trust Dated May 17,      Courthouse East                     LIPSCOMB &            business practices;                                responded to
                      2004, as Trustee of the Datta                                       LACK                  fraud; intentional                                 initial letter
                      Family Trust, as personal                                           10100 Santa Monica    infliction of emotional                            or follow-up
                      representative/successor in                                         Blvd., 12th Floor     distress; elder abuse;                             letter.
                      interest to decedent Sumit                                          Los Angeles, CA       wrongful death; slander
                      Ghosh v. Green Tree                                                 90067                 of title; quiet title;
                      Servicing LLC et al.                                                                      promissory estoppel; set
                                                                                                                aside sale of real
                                                                                                                property; unjust
                                                                                                                enrichment; conversion;
                                                                                                                and aiding and abetting.



9   Diggs, Varnel     Varnel Diggs v. Ditech          United States District 18-CV-0974   Varnell Diggs         Negligence per se.          12/17/2019   2/13/2020 Litigant has
                      Financial LLC and Nicole        Court - Western                     17111 Copperhead                                                         refused, in a
                      Bartee                          District of Texas                   Drive                                                                    12/30/2019
                                                                                          Round Rock, TX                                                           letter, to
                                                                                          78664                                                                    dismiss the
                                                                                                                                                                   action. He
                                                                                                                                                                   has not
                                                                                                                                                                   responded to
                                                                                                                                                                   the follow-up
                                                                                                                                                                   letter.
10   Ellis, Martina and The Estate of Martha Dawson; Virginia Circuit      CL 18-000922-   Heath J. Thompson Breach of contract.           11/18/2019   2/26/2020 Litigant's
     Howard             Martina Dawson Ellis and     Court - City of       00              Heath Thompson,                                                        counsel
                        Howard Ellis v. Ditech       Hampton                               P.C.                                                                   acknowledge
                        Financial LLC and                                                  4224 Holland Road                                                      d reciept of
                        Commonwealth Trustees, LLC                                         Suite 108                                                              the initial
                                                                                           Virginia Beach, VA                                                     letter but has
                                                                                           23452                                                                  not dismissed
                                                                                                                                                                  nor
                                                                                                                                                                  responded to
                                                                                                                                                                  follow-up
                                                                                                                                                                  letter.

11   Farooq, Mylene    Mylene Farooq v. Bank of       California Superior PC058000         Mylene Farooq       Violation of California     11/11/2019    2/3/2020 Litigant has
                       America N.A.; Bank of          Court - Los Angeles                  18503 Olympian      Civil Code §§ 2923.55,                             not
                       America Home Loans             County - Chatsworth                  Court               2923.6, 2923.7, 2924.12                            responded to
                       Servicing; LP Reconstrust      Courthouse                           Santa Clarita, CA   and 2924.17; breach of                             the initial
                       Company, N.A.; Ditech                                               91351               contract; breach of the                            letter or
                       Financial, LLC; Green Tree                                                              covenant of good faith                             follow-up
                       Servicing, LLC; Clear Recon                                                             and fair dealing;                                  letters.
                       Corp.; Aldridge Pite LP; and                                                            negligence; negligent
                       Does 1-20, inclusive.                                                                   infliction of emotional
                                                                                                               distress; unfair business
                                                                                                               practice; unjust
                                                                                                               enrichment; and slander
                                                                                                               of title.



12   Farrier, Mary     Mary J. Farrier vs. George     United States District 19-cv-588     Mary J. Farrier     Wrongful foreclosure;        11/7/2019             Litigant has
                       Leicht; United States          Court - Southern                     P.O. Box 19361      and misrepresentation.                             affirmatively
                       Bankruptcy Court Southern      District of Ohio                     Cincinnati, OH                                                         refused to
                       District of Ohio; Beth A.      (Western)                            45219                                                                  withdraw her
                       Buchanan; Co-Conspirators                                                                                                                  claims.
                       E.T.C maybe amended; Ditech
                       Financial, LLC
13   Felton, Raymon   Raymon J. Felton and Myrna California Superior    RIC1904416   Gary Saunders        Breach of contract;          11/12/2019    2/4/2020 Litigant has
     and Myrna        W. Felton v. Ditech Financial Court - Riverside                Saunders Law         promissory estoppel;                                not
                      LLC; Loan Care, LLC and       County                           Group                negligent                                           responded to
                      Does 1-10                                                      1891 California      misrepresentation;                                  initial letter
                                                                                     Ave, Ste. 102        negligence; breach of                               or follow-up
                                                                                     Corona, CA 92881     implied duty of good                                letter.
                                                                                                          faith and fair dealing;
                                                                                                          and violation of
                                                                                                          California Business and
                                                                                                          Professional Code §§
                                                                                                          17200.
14   Forbes, Tyler    Tyler J. Forbes v. Flagstar   Michigan Circuit    19-5969-CH   Roger G. Cotner      Breach of contract;           12/6/2019             Litigant's
                      Bank, FSB, Schneiderman &     Court - Ottawa                   Cotner Law Offices   breach of duty of good                              counsel
                      Sherman, P.C., Green Tree     County                           PO Box 838           faith and fair dealing;                             acknowledge
                      Servicing, LLC, and                                            Grand Haven, MI      conversion; intetnional                             d reciept of
                      Specialized Loan Servicing,                                    49417                infliction of emotional                             the initial
                      LLC                                                                                 distress; negligent                                 letter but has
                                                                                                          infliction of emotional                             not dismissed
                                                                                                          distress; violation of the                          nor
                                                                                                          Fair Debt Collection                                responded to
                                                                                                          Practices Act; and                                  a January 13,
                                                                                                          violation of the                                    2020 email or
                                                                                                          Michigan Collections                                repeated
                                                                                                          Practices Act.                                      phone calls.

15   Frederickson,    Ditech Financial LLC v.       New Mexico Fourth D-412-CV-      Mark Alan            Unfair, deceptive and        12/17/2019   2/13/2020 Litigant has
     Mark Alan        Estella Veronna Roberts aka   Judicial District  201800464     Frederickson         unconscionable trade                                refused, in a
                      Veronna Roberts and Mark      Court - San Miguel               788 Dora Celeste     practices; and fraud and                            12/29/2019
                      Alan Frederickson             County                           Dr. Las Vegas, NM    fraudulent                                          letter, to
                                                                                     87701                misrepresentation.                                  dismiss the
                                                                                                                                                              action.
                                                                                                                                                              Litigant has
                                                                                                                                                              not
                                                                                                                                                              responded to
                                                                                                                                                              the follow-up
                                                                                                                                                              letter.
16   Grassia, Beau   Beau Grassia v. Ditech       Massachusetts       1882CV0919     John W. Wozniak, Breach of contract.          12/16/2019   1/30/2020 Litigant's
                     Financial LLC f/k/a Green    Superior Court -                   Esq.                                                                 counsel
                     Tree Servicing LLC           Norfolk County                     The Wozniak Law                                                      acknowledge
                                                                                     Group, PC                                                            d reciept of
                                                                                     159 Hartford                                                         the initial
                                                                                     Avenue                                                               letter but has
                                                                                     Mendon, MA 01756                                                     not dismissed
                                                                                                                                                          nor
                                                                                                                                                          responded to
                                                                                                                                                          the follow-up
                                                                                                                                                          letter.

17   Grech, John     John Grech v. Ditech         United State District 19-CV13291   John Grech          Violaiton of the Real     11/18/2019   2/12/2020 In response
                     Financial, LLC and Federal   Court - Eastern                    33040 Allen St.     Estate Settelment                                to the initial
                     National Mortgage            District of Michigan               Livonia, MI 48154   Procedures Act; slander                          letter,
                     Association                                                                         of title and breach of                           litigant's
                                                                                                         contract.                                        counsel
                                                                                                                                                          affirmatively
                                                                                                                                                          refused to
                                                                                                                                                          withdraw. On
                                                                                                                                                          February 3,
                                                                                                                                                          2020,
                                                                                                                                                          litigant's
                                                                                                                                                          counsel
                                                                                                                                                          withdrew
                                                                                                                                                          from the
                                                                                                                                                          underlying
                                                                                                                                                          action.
                                                                                                                                                          Litigant has
                                                                                                                                                          not
                                                                                                                                                          responded to
                                                                                                                                                          the follow-up
                                                                                                                                                          letter.
18   Green, Cheryl     Cheryl Green v. Ditech         South Carolina Court 2018-CP-07-   James H. Moss, Esq. Unlawful conversion         11/22/2019    2/20/2020 Litigant's
                       Financial LLC                  of Common Pleas - 01018            Moss, Kuhn &                                                            counsel has
                                                      Beaufort County                    Fleming, P.A.                                                           not
                                                                                         1501 North Street                                                       dismissed,
                                                                                         Beaufort, SC                                                            despite initial
                                                                                         29902                                                                   letter, follow-
                                                                                                                                                                 up letter and
                                                                                                                                                                 phone
                                                                                                                                                                 conversation.


19   Halloran, Corey   Corey S. and Stephanie         California Superior CVCV18-01797 Corey S. and         Violation of California      11/12/2019     2/3/2020 Litigants
     and Stephanie     Halloran v. Ditech Financial   Court - Yuba County              Stephanie Halloran   Civ. Code §§ 2923.55,                                have not
                       LLC and Does 1-5.                                               1857 River Run       2923.5, 2923.6, 2923,7,                              responded to
                                                                                       Drive                and 2924.17;                                         initial letter
                                                                                       Marysville, CA       negligence; fraudulent                               or follow-up
                                                                                       95901                misrepresentation;                                   letter.
                                                                                                            negligent
                                                                                                            misrepresentation;
                                                                                                            fraudulent promise
                                                                                                            without intention to
                                                                                                            perform; slander of title;
                                                                                                            and violation of the
                                                                                                            California Business and
                                                                                                            Professions Code §
                                                                                                            17200.
20   Hantzis, Pete     Green Tree Servicing v. Pete   Florida Circuit Court 11-CA-386    Pete Hantzis       Fraudulent activities;       12/13/2019   12/31/2019 Litigant
                       Hantzis, Kanella Hantzis, et   - Hernando County                  14497 Centralia    predatory lending; mail                              acknowledge
                       al.                                                               Road               and wire fraud.                                      d reciept of
                                                                                         Brooksville, FL                                                         the initial
                                                                                         34614                                                                   letter but has
                                                                                                                                                                 not dismissed
                                                                                                                                                                 nor
                                                                                                                                                                 responded to
                                                                                                                                                                 the follow-up
                                                                                                                                                                 letter.
21   Hermosillo,       Aurora Loan Services, LLC v. Illinois Circuit Court 08-CH-23297   Douglas M. Matton Violation of the Truth in      11/12/2019    2/4/2020 Litigant's
     Obdulia and       Obdulia Hermosillo and       - Cook County                        134 N. LaSalle St. Lending Act                                          counsel has
     Armando           Armando Hemosillo                                                 Suite 1040                                                              not
                                                                                         Chicago, IL 60602                                                       responded to
                                                                                                                                                                 the initial
                                                                                                                                                                 letter or
                                                                                                                                                                 follow-up
                                                                                                                                                                 letters.
22   Hucke, George     Ditech Financial, LLC v.      Connecticut Superior CV-XX-XXXXXXX- Edward Elliott       Violation of the Fair       12/17/2019              Litigant's
                       George Hucke, et al.          Court - New London S                Bona, Esq.           Debt Collection                                     counsel has
                                                                                         P.O. Box 13          Practices Act; violation                            repeatedly
                                                                                         Plainfield, CT       of the Real Estate                                  refused to
                                                                                         06374                Settlement Procedures                               dismiss the
                                                                                                              Act; and violation of the                           action.
                                                                                                              Connecticut Unfair
                                                                                                              Trade Practices Act
23   Johansen, Carla   Carla Johansen v. Bayview     California Superior   34-2018-      Carla L. Johansen    Violation of the             1/29/2020   2/19/2020 Litigant has
                       Loan Servicing LLC; Ditech Court - Sacramento       00247038      2000 Larkin Way      California Homeowner's                             not dismissed
                       Financial, LLC; Greentree     County                              Sacramento, CA       Bill of Rights; Violation                          despite
                       Servicing LLC; MTC                                                95818                of the Unfair                                      acknowledgin
                       Financial DBA Trustee Corps;                                                           Competition Law;                                   g reciept of
                       The Bank of New York                                                                   Violation of the                                   the initial
                       Mellon f/k/a The Bank of New                                                           Rosenthal Fair Debt                                letter by
                       York as Trustee for the                                                                Collections Practices                              email and has
                       Certificateholders of the                                                              Act; unfair and unlawful                           not
                       CWAB Inc. Asset-Backed                                                                 business practices;                                responded to
                       Certificates Series 2005-AB4;                                                          violation of the Fair                              the follow-up
                       and Does 1-20.                                                                         Debt Collection                                    letter.
                                                                                                              Practices Act; fraud.

24   Johnson, Debbie Debbie Johnson; Jake Stabel, United State District 19-CV-00019      Helene Bergman       Unlawful foreclosure;       12/17/2019   1/24/2020 Litigants
     and Bergman,    deceased; and Helene          Court - Southern                      The Bergman Law      and violation of Texas                             acknowledge
     Helene          Bergman v. America's          District of Texas                     Firm                 Property Code.                                     d reciept of
                     Wholesale Lender; Ditech                                            P.O. Box 941142                                                         the first letter
                     Financial LLC, its affiliates                                       Houston, TX                                                             but not
                     and/or assigns; and Ditech                                          77094-8142                                                              dismiss their
                     Mortgage, Inc.                                                                                                                              money
                                                                                         1001 S. Dairy                                                           damages
                                                                                         Ashford, Suite 100                                                      claims nor
                                                                                         Houston, TX 77079                                                       have they
                                                                                                                                                                 responded to
                                                                                                                                                                 the follow-up
                                                                                                                                                                 letter.
25   Johnson, Renee    Renee Johnson v. Ditech         District of Columbia 2019-SC3-      Renee Johnson        Breach of contract;          12/19/2020   1/16/2020 Litigant has
                       Financial LLC                   Superior Court       001794         28 Milmarson Place   intentional infliction of                           not
                                                                                           N.W.                 emotional & mental                                  responded to
                                                                                           Washington, D.C.     duress; harassment;                                 the initial
                                                                                                                physical injury and                                 letter or
                                                                                                                financial decimation.                               follow-up
                                                                                                                                                                    letter.
26   Juste, Jean and   Nationstar Mortgage LLC and     Circuit Court of    2014 CH 13277   Jean Juste           Violations of the Fair       11/15/2019   2/11/2020 Litigant has
     Paul, Rose        Ditech Financial, LLC v. Jean   Cook County,                        8316 Hamlin          Debt Collection                                     not
                       Juste A/K/A Jean W. Juste;      Illinois - County                   Avenue               Practices Act.                                      responded to
                       Rose M. Paul A/K/A Rose M.      Department,                         Skokie, Illinois                                                         initial letter
                       Paul; Unknown Owners and        Chancery Division                   60076                                                                    or follow-up
                       Non-Record Claimants;                                                                                                                        letter.
                       Unknown Occupants

27   Kasun, Nicholas Nicholas A. Kasun v. Ditech       Virginia Circuit     CL16-951       Nicholas A. Kasun    Mortgage servicing           11/11/2019   2/28/2020 Litigant has
                     Financial LLC                     Court - Spotsylvania                11813 Duck Circle    fraud and violation of                              not
                                                       County                              Spotsylvania, VA     Virginia Code § 18.2.-                              responded to
                                                                                           22553                500                                                 initial letter
                                                                                                                                                                    or follow-up
                                                                                                                                                                    letter.
28   Kay, Sanford and Sanford Kay and Deborah Kay Missouri Circuit         19SL-CC00296    Gregory P. White,    Wrongful foreclosure;        11/14/2019   1/16/2020 Litigant's
     Deborah          v. Ditech Financial LL, et al. Court - St. Louis                     Esq.                 violation of the Missouri                           counsel has
                                                     County                                8000 Bonhomme        Mechandising Practices                              not
                                                                                           Avenue, Suite 316    Act; and slander of title.                          responded to
                                                                                           Clayton, MO 63105                                                        the initial
                                                                                                                                                                    letter or
                                                                                                                                                                    follow-up
                                                                                                                                                                    letter.
29   Kreuter, Edward Green Tree Servicing, LLC v. Connecticut Superior LLI CV 13           Edward J. Kreuter    Money damages for             12/3/2019   2/12/2020 Litigant has
                     Mortgage Electornic            Court - Litchfield 6009814 S           6 Summers Lane       destruction of personal                             not
                     Registration Systems, Inc., as                                        P.O.Box 697          and real property.                                  responded to
                     nominee for Countrywide                                               Woodstock, NY                                                            the initial
                     Bank, N.A.; Edward J. Kreuter                                         12498                                                                    letter or
                     and Sherry Bergman.                                                                                                                            follow-up
                                                                                                                                                                    letters.
30   Law, Mary         Mary Law v. Federal National   Nevada Second       CV15-01344       Keith J. Tierney,   Violation of NRS               12/5/2019   2/11/2020 Litigant's
                       Mortgage Association; Green    Judicial District                    Esq.                107.086(5).                                          counsel has
                       Tree Servicing LLC; and Does   Court - Washoe                       922 NW Circle                                                            not
                       1-20, inclusive.               County                               Blvd., #160-108                                                          responded to
                                                                                           Corvallis, OR 97330                                                      the initial
                                                                                                                                                                    letter or
                                                                                                                                                                    follow-up
                                                                                                                                                                    letters.
31   Ligotti, Joseph   Joseph A. Ligotti Jr. and Paula United State District 16-CV-12095   Chaz Robert Fisher   Breach of contract;          11/26/2019   2/11/2020 Litigants
     and Paula         Ligotti v. Ditech Financial     Court - District of                 Fisher Legal, PA     failure to render an                                counsel has
                       LLC                             Massachusetts                       217 Hanover Street   accounting; violation of                            not
                                                                                           #184                 the Real Estate                                     responded to
                                                                                           Boston, MA 02113     Settelment Procedures                               initial letter
                                                                                                                Act; violation of the Fair                          or follow-up
                                                                                                                Debt Collections                                    letters.
                                                                                                                Practices Act; violation
                                                                                                                of the Home Affordable
                                                                                                                Modification Program;
                                                                                                                and breach of the
                                                                                                                Massachusetts implied
                                                                                                                warranty of good faith
                                                                                                                and fair dealing.
32   Low, Mary and     Ditech Financial LLC v. Mary New York Supreme 700487/2019           Kevin B. Zazzera,    Predatory lending;           11/20/2019   1/27/2020 Litigant's
     Roy               Low; Roy Low; and John       Court - Richmond                       Esq.                 commercial bad faith;                               counsel has
                       Does 1-12.                   County                                 182 Rose Avenue      and violation of the New                            not
                                                                                           Staten Island, NY    York Deceptive                                      responded to
                                                                                           10306                Practices Act.                                      initial letter
                                                                                                                                                                    or follow-up
                                                                                                                                                                    letter.
33   Mercado-          Jose O. Mercado v. Ditech      South Carolina Court 2018-CP-26-     Jose O. Mercado-     Negligence; and               12/2/2019   2/20/2020 Litigant has
     Sanchez, Jose     Financial LLC                  of Common Pleas - 5241               Sanchez              violation of the South                              not
                                                      Horry County                         P.O. Box 1349        Carolina Unfair Trade                               responded to
                                                                                           Little River, S.C.   Practices Act.                                      the initial
                                                                                           29566                                                                    letter or
                                                                                                                                                                    follow-up
                                                                                                                                                                    letters.
34   Mitchell, Curtis   Curtis L. Mitchell and Brenita   United States District 19-CV-00193   Juan Angel Guerra Breach of contract.            12/17/2019   2/13/2020 Litigant's
     and Brenita        Louise Mitchell v. Ditech        Court - Southern                     The Law Office of                                                       counsel has
                        Financial LLC and Substitute     District of Texas -                  Juan Angel Guerra                                                       not
                        Trustee Connie Cobb              Brownsville Division                 1409 N. Stuart Place                                                    responded to
                                                                                              Rd. Suite A                                                             the initial
                                                                                              Harlingen, TX                                                           letter or
                                                                                              78552                                                                   follow-up
                                                                                                                                                                      letters.

35   Montano, Joel    Ditech Financial LLC v. The        New Mexico District D-412-CV-2016- Brian A. Thomas         Violation of the New        12/4/2019   2/17/2020 Despite
     and Concha; Lori Unknown Heirs, Devisees and        Court - San Miguel 00460           Law Office of Bryan     Mexico Unfair Trade                               acknowledgin
     Montoya          Legatees of Hipolito F.            County - Fourth                    A. Thomas               Practices Act; breach of                          g reciept of
                      Montano, a/k/a Paul Montano,       Judicial District                  2535 Wyoming NE,        good faith and fair                               the initial and
                      deceased; Joel Montano a/k/a                                          Suite A                 dealing; and negligent                            follow-up
                      Joel Anthony Montano;                                                 Albuqerque, NM          supervision or training                           letters,
                      Concha Montano, as                                                    87112                   of servicer staff.                                litigant's
                      custodian for Isaac Montano,                                                                                                                    counsel has
                      Xaxier Salazar, and Ramon                                                                                                                       not
                      Joel Montoya, minors; Lori                                                                                                                      dismissed.
                      Montoya a/ka/ Lori Montano
                      a/k/a Lori Ann Montano; and
                      Department of tthe Treasury,
                      Intenral Revenue Service.

36   Nardone, Tricia    Tricia and Robert Nardone v. California Superior      18CV338830      Matthew D. Mellen     Violation of California    11/12/2019   1/15/2020 Litigant's
     and Robert         Nationstar MTG LLC d/b/a     Court - Santa Clara                      Duncan McGee          Civil Code § 2923.7;                              counsel has
                        Mr. Cooper; NBS Default      County                                   Nefcy                 negligence; negligent                             acknowledge
                        Services LLC; Ditech                                                  Mellen Law Firm       misrpresentation;                                 d receipt of
                        Financial LLC; and Does 1-10                                          1050 Marina Village   intentional interference                          the initial
                                                                                              Parkway, Suite 102    with prospective                                  letter and
                                                                                              Alameda, CA 94501     economic advantage;                               agreed to
                                                                                                                    violation of the                                  amend the
                                                                                                                    California Business and                           complaint to
                                                                                                                    Professions Code §                                dismiss the
                                                                                                                    17200; and violation of                           monetary
                                                                                                                    California Rosenthal                              claims. This
                                                                                                                    Fair Debt Collection                              was not done
                                                                                                                    Practices Act.                                    and no
                                                                                                                                                                      response was
                                                                                                                                                                      received to
                                                                                                                                                                      the follow-up
                                                                                                                                                                      letter.
37   North Arkansas   North Arkansas Lending, LLC Arkansas Circuit       03CV-19-236     David L. Ethredge     Breach of contract.        12/11/2019   2/18/2020 Litigant's
     Lending, LLC     v. Green Tree Servicing, LLC Court - Baxter                        Ethredge &                                                              counsel has
                                                   County                                Copeland, P.A.                                                          not
                                                                                         119 East 6th Street                                                     responded to
                                                                                         P.O. Box 724                                                            the initial
                                                                                         Mountain Home,                                                          lettter or
                                                                                         Arkansas 72653                                                          follow-up
                                                                                                                                                                 letters
38   Plumbing         Plumbing Solutions, Inc. v.   Illinois Circuit Court 16-LM-67      Lucas H. Liefer,      Trespass                   11/18/2019    2/7/2020 Litigants'
     Solutions Inc.   Ditech Financial LLC          - Randolph County                    Esq.                                                                    counsel has
                                                                                         Cooper & Liefer                                                         not
                                                                                         205 E. Market                                                           responded to
                                                                                         P.O. Box 99                                                             the initial
                                                                                         Red Bud, Ilinois                                                        letter or
                                                                                         62278                                                                   follow-up
                                                                                                                                                                 letters.
39   Portnoy, Harvey Harvey Portnoy v. Safeguard    United States District 19-CV-00407   Harvey Portnoy        Destruction of property.   11/22/2019    2/3/2020 Litigant has
                     Properties LLC and Green       Court - Middle                       3001 SW College                                                         not
                     Tree Servicing - Ditech        District of Florida                  Rd.                                                                     responded to
                                                                                         PM137                                                                   the initial
                                                                                         Ocala, FL 34474                                                         letter or
                                                                                                                                                                 follow-up
                                                                                                                                                                 letter.
40   Pratt, Warren and Warren W. Pratt Jr. and Mona Virginia Circuit     085CL17001976- Henry McLaughlin,      Breach of contract;        11/11/2019   2/13/2020 Litigants'
     Mona              G. Pratt v. Ditech Financial, Court - Hanover     00             Esq.                   actual fraud; and breach                          counsel has
                       LLC and Samuel I. White,      County                             707 East Main          of implied covenant of                            not
                       P.C.                                                             Street, Suite 1050     good faith and fair                               responded to
                                                                                        Richmond, VA           dealing.                                          the initial
                                                                                        23219                                                                    letter or
                                                                                                                                                                 follow-up
                                                                                                                                                                 letters.
41   Ramsey, Mark     Ditech Financial LLC v. Mark Ohio Court of         19CV00059       Mark Ramsey           Fraud; conversion; and     11/14/2019   1/31/2020 Litigant has
                      Ramsey and Safeguard         Common Pleas -                        P.O. Box 246          violation of the Fair                             not
                      Properties                   Licking County                        9180 Jacksontown      Debt Collection                                   responded to
                                                                                         Road                  Practices Act                                     the initial
                                                                                         Jacksontown, OH                                                         letter or
                                                                                         43030                                                                   follow-up
                                                                                                                                                                 letters.
42   Rasmus-Drees,   Ditech Financial LLC v. Judy Iowa District Court - EQCV.091441      Douglas Drees      Breach of contract and        12/12/2019    2/6/2020 Litigants
     Judy Lynn and   Lynn Rasmus-Drees as            Linn County                         Judy Lynn Rasmus- abuse of process.                                     have not
     Douglas Drees   executor of the estate of Letta                                     Drees                                                                   responded to
                     Lois Rasmus; spouse of Letta                                        4420 Lee Street                                                         the initial
                     Lois Rasmus A/K/A L. Lois                                           Cedar Rapids, Iowa                                                      letter or
                     Rasmus; Judy Lynn Rasmus-                                           52402                                                                   follow-up
                     Drees, individually; spouse of                                                                                                              letters.
                     Judy Lynn Rasmus-Drees;
                     State of Iowa; and Parties in
                     Possession
43   Rauso, Genaro   Gennaro Rauso v. Angela        United States District 17-CV-04721   Genaro Rauso          Punitive damages            11/8/2019   2/10/2020 Litigant has
                     Martinez; Mary McFall          Court - Eastern                      Registration No.                                                        affirmatively
                     Hopper; Federal National       District of                          48192-066                                                               refused, after
                     Mortgage Association;          Pennsylvania                         FCI-Cumberland                                                          multiple
                     SunTrust Mortgage, Inc.;                                            Federal Prison                                                          letters, to
                     Ditech Financial LLC;                                               Camp                                                                    dismiss.
                     Greentree Consumer Discount                                         P.O. Box 1000
                     Company; Greentree                                                  Cumberland, MD
                     Mortgage Servicing Company;                                         21501
                     Greentree Servicing LLC;
                     Phelan, Hallinan, Diamond &
                     Jones, LLP; Mark Finley;
                     Joseph F. Finley; Adam H.
                     Davis; Allison Wells; Lauren
                     R. Tabas; Joseph E.
                     DeBarberie; Dorian Molino;
                     LTS Acquisition Co. LLC;
                     Core Abstract

44   Rhodes, Melissa Melissa Rhodes and William United States District 12-CV-01636       William P. Rubley,    Violation of the Real       12/6/2019   1/13/2020 Litigant's
     and William     Rhodes v. Marix Servicing, Court - District of                      Esq.                  Estate Settlement                                 counsel has
                     LLC; EMC Mortgage          New Jersey                               Subranni Zauber       Procedures Act;                                   not
                     Corporation; Zucker,                                                LLC                   violation of the Fair                             responded to
                     Goldberg & Ackerman, LLC;                                           Willow Ridge          Debt Collection                                   the initial
                     and Residential Credit                                              Executive Complex     Practices Act; violation                          letter or the
                     Solutions, Inc.                                                     750 Route 73 South,   of the Truth in Lending                           follow-up
                                                                                         Suite 307B            Act; violation of the                             letter.
                                                                                         Marlton, NJ 08053     Automatic Stay and/or
                                                                                                               Discharge Order.
45   Schenkel,           Kimberly Schenkel and          United States District 8:17-CV-560   Michael A. Wasylik,   Violation of the            12/13/2019    1/7/2020 Litigant's
     Kimberly and        Christopher Schenkel v.        Court - Middle                       Esq.                  Telephone Consumer                                 counsel has
     Christopher         Ditech Finanical LLC,          District of Florida                  P.O. Box 2245         Protection Act; violation                          not
                         Suceessor by Merger or                                              Dade City, Florida    of the Fair Debt                                   responded to
                         Acquisition to Green Tree                                           33526                 Collection Practices                               initial letter
                         Servicing LLC                                                                             Act; and violation of the                          or follow-up
                                                                                                                   Florida Consumer                                   letter.
                                                                                                                   Collection Practices Act.

46   Schwartz, Robert Robert Schwartz and Maxia         New York Supreme 50310/2019          William A. Hecht      Violation of the New         1/27/2020   2/12/2020 Litigant's
     and Maxia Kadler Kadler v. Ocwen Loan              Court - Putnam                       William A. Hecht,     York Real Property                                 counsel has
                      Servicing, LLC and Ditech         County                               P.C.                  Action and Proceedings                             not dismissed
                      Financial LLC                                                          84 Business Park      Law; and violation of                              despite
                                                                                             Drive, Suite 110      the New York Real                                  acknowledgin
                                                                                             Armonk, NY 10504      Property Law.                                      g the initial
                                                                                                                                                                      letter and
                                                                                                                                                                      follow-up
                                                                                                                                                                      letter.

47   St. Claire, Traci   Traci St. Claire v. Ditech     United States Disrict 17-cv-03370    Traci St. Claire      Violations of the            11/5/2019   2/19/2020 Litigant has
                         Financial LLC, f/k/a Green     Court - Northern                     8390 Emerald          Homeowner's Protection                             not
                         Tree Servicing, LLC, Federal   District of Georgia -                Pointe Lane           Act; and the Real Estate                           responded to
                         National Mortgage              Atlanta Division                     Gainesville, GA       Settlement Procedures                              injunction
                         Association, John Does, Jane                                        30506                 Act.                                               letter or
                         Does, ABC, Inc., XYZ, Inc.                                                                                                                   follow-up
                                                                                                                                                                      letter.
48   Steiner, Robert     Robert and Mercedes Steiner    California Superior CIVDS1927786     CDLG, PC              Violation of California     11/11/2019    2/4/2020 Litigant's
                         v. Loancare LLC; Ditech        Court - San                          c/o Tony Cara         Civ. Code §§ 2923.6(c),                            counsel has
                         Holding Corporation; and       Bernardino County -                  2973 Harbor Blvd,     2923.7, 2924.9 and                                 not
                         Does 1-10                      Central District                     Suite 594             2924.10; negligence;                               responded to
                                                                                             Costa Mesa, CA        and violation of the                               initial letter
                                                                                             92626-3912            California Business and                            or follow-up
                                                                                                                   Professions Code §                                 letter.
                                                                                                                   17200.

49   Todaro, Alicia      Alicia Todaro and Robert       United States District 18-CV-261     Alicia and Robert     Violation of the Real       11/14/2019              Litigants
     and Robert          Todaro v. Ditech Financial     Court - Western                      Todaro                Estate Settlement                                   have
                         LLC and Federal National       District of Missouri                 211 SW State Route    Procedures Act; and                                 affirmatively
                         Mortgage Association                                                131                   violation of the Truth in                           refused to
                                                                                             Holden, Missouri      Lending Act.                                        dismiss their
                                                                                             64040                                                                     claims.
50   Vasquez, Jose    Jose A. Vasquez v. Ditech      Supreme Court of  No. 707372/2019 William R.             Fraud;                      11/14/2019   12/24/2019 Litigant's
                      Financial, LLC in its own      New York - Queens                 Lizarraga              misrepresentation;                                  counsel has
                      capacity and on behalf of      County                             Lizarraga Law         intentional infliction of                           not
                      Fannie Mae                                                       Firm, PLLC             emotional distress; and                             responded to
                                                                                       3753 90th Street,      slander of title.                                   initial letter
                                                                                       Suite 3                                                                    or follow-up
                                                                                       Jackson Heights,                                                           letter.
                                                                                       NY 11372
51   Watkins, Chanell Chanell S. Watkins v. Ditech   United States         17-CV-0337    Chanell S. Watkins Violation of California       11/13/2019     2/5/2020 Litigant has
                      Financial LLC F/K/A Green      Districy Court -                    241 Ali Court      Civil Code §§ 2923.55,                                not
                      Tree Servicing LLC; Federal    Eastern District of                 Tracy, CA 95376    2923.7, 2924.10,                                      responded to
                      National Mortgage              California                                             2924.12; breach of                                    initial letter
                      Association; NBS Default                                                              contract; negligence;                                 or follow-up
                      Services LLC; and Does 1-20.                                                          negligent infliction of                               letter.
                                                                                                            emotional distress; and
                                                                                                            unfair business
                                                                                                            practices.
52   White, Charles   Charles White v. Ditech     California Superior      34-2018-      Charles White        Wrongful foreclosure;       11/12/2019     2/5/2020 Litigant has
                      Financial LLC and Does 1-50 Court - Sacremento       00230752      7001 Whyte Ave.      breach of contract;                                 not
                                                  County                                 Citrus Heights, CA   breach of implied                                   responded to
                                                                                         95621                covenant of good faith                              initial letter
                                                                                                              and fair dealing;                                   or follow-up
                                                                                                              negligent                                           letter.
                                                                                                              misrepresentation;
                                                                                                              negligence; and
                                                                                                              violation of California
                                                                                                              Business and
                                                                                                              Professions Code §
                                                                                                              17200.
53   White, Paul and   Paul and Michelle White v.   United State District 18-CV-13274   Valerie Moran       Breach of contract;         11/14/2019   2/12/2020 Despite
     Michelle          Ditech Financial, LLC        Court - Eastern                     The Moran Law       violations of the Fair                             reciept and
                                                    District of Michigan                Firm, PLLC          Credit Reporting Act,                              acknowledge
                                                                                        24500 NW Hwy, Ste   Fair Credit Billing Act                            ment of the
                                                                                        204                 and Fair Debt Collection                           initial letter,
                                                                                        Southfield, MI      Practices Act; violation                           litigant's
                                                                                        48075               of Michigan                                        counsel did
                                                                                                            Occupational Code and                              not withdraw.
                                                                                                            Collection Practices Act.                          Litigant's
                                                                                                                                                               counsel has
                                                                                                                                                               not
                                                                                                                                                               responded to
                                                                                                                                                               the follow-up
                                                                                                                                                               letter.
